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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


                                                 Civil Action No. 5:16-cv-10444-JEL
  In re FLINT WATER CASES                        (consolidated)

                                                 Hon. Judith E. Levy



    NOTICE OF THE SPECIAL MASTER REGARDING REQUEST FOR
     PAYMENT OF SPECIAL MASTER FEES AND EXPENSES FOR
                        JANUARY 2023

       On July 31, 2018, under Federal Rule of Civil Procedure 53, the Court

 appointed Deborah E. Greenspan to serve as a Special Master. Amended Order

 Appointing Special Master (“Special Master Appointment Order”), ECF No. 544,

 PageID.16581-16590. The Special Master Appointment Order specified various

 assigned duties and noted potential additional tasks that could be performed by the

 Special Master, as directed by the Court.

       On November 10, 2021, the Court issued its Opinion and Order Granting

 Final Approval Of A Partial Settlement, Granting Certification Of A Settlement

 Class, Granting Appointment Of Settlement Class Counsel [1794], Denying

 Objections, And Adopting The Report And Recommendation [2006] (“Opinion and

 Final Approval Order”), 571 F. Supp. 3d 746 (E.D. Mich. 2021) (ECF No. 2008,

 PageID.69537-69714).

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       The Opinion and Final Approval Order approved the settlement reached

 between Plaintiffs and the Settling Defendants in the Amended Settlement

 Agreement (“ASA”), ECF No. 1394-2, PageID.54120-54211 (dated January 15,

 2021). 1 The ASA specified various duties of the Special Master and defines the

 Special Master as Deborah Greenspan. ASA, at §1.77, ECF No. 1394-2,

 PageID.54136. As set forth in the Opinion and Final Approval Order, pursuant to

 the ASA, the Special Master oversees various aspects of the settlement and her duties

 include: “(1) consulting with the Claims Administrator and making decisions

 regarding registration and participation; (2) considering and deciding, in a timely

 fashion, any appeals taken by participants …; and (3) handling any disputes that

 arise involving the ASA.” Opinion and Final Approval Order, 571 F. Supp. 3d at

 761, ECF No. 2008 at PageID.69554 (citing ASA at PageID.54163–54174).

       On January 20, 2022, the Court issued its Order Regarding Settlement-Related

 Duties Of The Special Master, ECF No. 2096, PageID.71973 (“January 2022

 Order”). By this Order, the Court amended its previous Special Master Appointment

 Order and directed Deborah E. Greenspan to fulfill all of the duties of Special Master

 set forth in the ASA. See January 2022 Order, PageID.71975. The January 2022

 Order further provided:



 1
  Unless otherwise defined herein, all capitalized terms herein have the same
 meaning set forth in the ASA.
                                           2
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       Under the provisions of the Special Master Appointment Order, the Court
       further directs the Special Master to assist the Court in its oversight role by
       supervising the implementation of the ASA, including, without limitation,
       supervision and audit of the claims administration process and the entities
       engaged to provide services in connection with the review, evaluation, and
       administration of claims and the distribution of settlement assets. The Special
       Master shall address issues of interpretation of Exhibit 8 to the ASA and the
       exhibits thereto and shall be authorized and directed to provide direction to
       the Claims Administrator regarding questions of interpretation. The Special
       Master may submit recommendations to the Court regarding interpretation
       matters. Any determinations regarding interpretation affecting the eligibility
       of and compensation category of claims shall be posted on the Claims
       Administrator’s website. The Special Master shall report to the Court
       periodically on the progress of the settlement and on any issues or matters of
       concern that may arise under the implementation of the ASA.

 Id. at PageID.71975-71976.

       The January 2022 Order provides that the “fees, costs and expenses of the

 Special Master shall be paid out of the FWC Qualified Settlement Fund consistent

 with the ASA except as otherwise provided in the ASA.” Id., at PageID.71976. The

 ASA provides that, except for disputes covered under §§12.12-12.13 of the ASA,

 “reasonable compensation of the Special Master, as agreed to by Plaintiffs’ Counsel

 and approved by the Federal Court, and reasonable out-of-pocket costs and expenses

 will be paid out of the FWC Qualified Settlement Fund.” ASA, §12.11, at

 PageID.54164.

 Special Master Fees and Expenses for January 2023

       During January 2023, I performed work as Special Master including

 supervision and oversight of the claims process, addressing issues and meetings
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 regarding vendors and claims processing, meetings and correspondence with

 vendors and the Settling Parties regarding claims processing, addressing contracts

 for vendors, providing guidance to the Claims Administrator, preparing reports to

 the Court, analysis of data sources for the claims process, follow up work on birth

 certificate issues, addressing issues regarding medical claims, addressing issues

 regarding audit of registration process, review of claims submitted for Special

 Master review, addressing decedent claims and probate matters, and addressing rules

 and procedures for claims review. The total amount of the invoice for such work is

 $199,110.97.

       Counsel for the Settling Parties have been provided with the Special Master’s

 invoice for January 2023 and have not submitted any objections.

 Payment

       The fees, if approved, would be paid from the FWC Qualified Settlement

 Fund, which has been established under the terms of the Court’s February 2, 2021

 Order Granting Motion To Establish Qualified Settlement Fund and Sub-Qualified

 Settlement Funds, and Establishing QSF Authorized Banking Institution [1408],

 ECF No. 1410.

       By this Notice, I am requesting that the Court authorize the payment of the

 sum of $199,110.97 to Blank Rome LLP for the Special Master’s services.



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 Respectfully submitted,


 Date: June 12, 2023                 /s/ Deborah E. Greenspan
                                     Deborah E. Greenspan
                                     Special Master
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                                     Michigan Bar # P33632
                                     1825 Eye Street, N.W.
                                     Washington, DC 20006
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                               CERTIFICATE OF SERVICE

       I certify that on June 12, 2023, I electronically filed the foregoing document

 with the Clerk of the Court using the Court’s ECF system, which will send

 notification of such filing to attorneys of record.


 Dated: June 12, 2023                    /s/ Deborah E. Greenspan
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                                         Special Master
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